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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

JENNIFER MORRIS,                        )
INDEPENDENT ADMINISTRATOR               )
OF THE ESTATE OF AYDEN                  )
CARTER TOPLIN,                          )
                                        )
              Plaintiff,                )
                                        )
       v.                               ) Case No:
                                        )
THE UNIVERSITY OF CHICAGO               ) JURY TRIAL DEMANDED
MEDICAL CENTER, JENNIFER                )
ROSENBAUM, M.D., CARYN REID,            )
APN, UNITED STATES OF                   )
AMERICA, GAETANO PEREGO,                )
M.D., and NAKEISHA                      )
WEATHERSBY, APN                         )
                                        )
              Defendants.               )

                               COMPLAINT AT LAW

       1.     On February 3, 2016, Jennifer Morris was appointed Independent

Administrator of the Estate of Ayden Toplin Carter by the Circuit Court of Cook

County, Illinois.

       2.     At all times relevant, Friend Family Health Center, Inc. was a

federally funded health clinic and agent of the United States of America.

       3.     Plaintiff filed a Form 95, and served it upon the United States of

America, Department of Health and Human Services, on October 30, 2015.

       4.     On and after April 30, 2014, Jennifer Morris received prenatal care

from agents and employees of the United States of America at Friend Family

Health Center, Inc., including Gaetano Perego, M.D. and Nakeisha Weathersby,

APN.

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      5.    At all times relevant, Gaetano Perego, M.D. was acting within the

scope and course of her actual and/ or apparent agency relationship with the

United States of America and Friend Family Health Center, Inc.

      6.    At all times relevant, Nakeisha Weathersby, APN was acting within

the scope and course of her actual and/ or apparent agency relationship with

the United States of America and Friend Family Health Center, Inc.

      7.    On August 21, 2014, Jennifer Morris underwent an ultrasound

which showed findings consistent with cervical incompetence.

      8.    On August 21, 2014, Dr. Perego learned that Jennifer Morris

underwent an ultrasound which showed findings consistent with cervical

incompetence, and directed her to The University of Chicago Medical Center.

      9.    On August 21, 2014, Jennifer Morris presented to The University

of Chicago Medical Center where she was seen by Caryn Reid, APN.

      10.   At that time and place, Nurse Reid diagnosed a bacterial infection

and sent Ms. Morris home on antibiotics.

      11.   On August 21, 2014, Jennifer Morris received no treatment for her

cervical incompetence at The University of Chicago Medical Center.

      12.   At all times relevant, Nurse Reid worked under the supervision of

Jennifer Rosenbaum, M.D.

      13.   At all times relevant, Caryn Reid, APN was acting within the scope

and course of her actual and/ or apparent agency relationship with The

University of Chicago Medical Center.




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        14.   At all times relevant, Jennifer Rosenbaum, M.D. was acting within

the scope and course of her actual and/ or apparent agency relationship with

The University of Chicago Medical Center.

        15.   On August 22, 2014, Jennifer Morris presented to Friend Family

Health Center, Inc. where she was seen by Nakeisha Weathersby, APN.

        16.   At that time and place, Nurse Weathersby instructed Ms. Morris to

continue taking her antibiotic and sent her home.

        17.   On August 22, 2014, Jennifer Morris received no treatment for her

cervical incompetence at Friend Family Health Center, Inc.

        18.   At all times relevant, Nurse Weathersby worked under the

supervision of Dr. Perego and/ or other physicians who were employees or

agents of the United States of America and Friend Family Health Center, Inc.

       19.    On August 23, 2014, Jennifer Morris went into labor.

       20.    On August 24, 2014, Ayden Toplin Carter was born at the

University of Chicago Medical Center at 22 weeks gestation and died later that

day.

       21.    On and after August 21, 2014, defendants and their agents and

employees were negligent in that they failed to provide informed consent and

placement of emergent or rescue cerclage to treat Jennifer Morris's cervical

incompetence.

       22.    As a   further proximate result of the negligent conduct of

defendants, Ayden Toplin Carter was born and died on August 24, 2014.




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       23.    Ayden Toplin Carter is survived by his next of kin as follows:

Jennifer Morris (mother), Stephen Toplin (father), Jabria Johnson (half-sister),

Alyssia Nelson (half-sister), Stephan Toplin (half-brother) and Stephen Toplin

(half-brother), all of whom have suffered damages by his wrongful death,

including grief and sorrow and loss of society.

       24.    Jennifer Morris, Independent Administrator of the Estate of Ayden

Toplin Carter, claims such damages pursuant to the Illinois Wrongful Death

Act.

       WHEREFORE, Jennifer Morris, Independent Administrator of the Estate

of Ayden Toplin Carter, demands judgment against defendants, University of

Chicago Medical Center, Jennifer Rosenbaum, M.D., Caryn Reid, APN, United

States of America, Gaetano Perego, M.D. and Nakeisha Weathersby, APN for a

sum of money in excess of the jurisdictional minimums of this court.



                                              Respectfully submitted,


                                              /sf Michael T. Gill


PFAFF, GILL & PORTS, LTD.
Attorneys for Plaintiff
One East Wacker Dr., Suite 3310
Chicago, IL 60601-1918
(312) 828-9666
We accept service at: eservice@pfaffgill.com




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 JENNIFER MORRIS,                                                  )
 INDEPENDENT ADMINISTRATOR                                         )
 OF THE ESTATE OF AYDEN                                            )
 CARTER TOPLIN,                                                    )
                                                                   )
                Plaintiff,                                         )
                                                                   )
       v.                                                          ) Case No:
                                                                   )
THE UNIVERSITY OF CHICAGO                                          )
MEDICAL CENTER, JENNIFER                                           )
ROSENBAUM, M.D., CARYN REID,                                       )
APN, UNITED STATES OF                                              )
AMERICA, GAETANO PEREGO,                                           )
M.D., and NAKEISHA                                                 )
WEATHERSBY, APN                                                    )
                                                                   )
                Defendants.                                        )

                         SUPREME COURT RULE 222 AFFIDAVIT

       The undersigned, MICHAEL T. GILL, having been duly sworn on oath,

deposes and states that as of this date the total money damages sought in the

above-captioned          matter                    exceeds         SEVENTY      FIVE THOUSAND    DOLLARS

($75,000.00).

                                                                           /s/ Michael T. Gill

Subscribed and Sworn to Before Me
This 4th day of May, 2016.


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        MEGHAN SCHMIDT                                       f
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

JENNIFER MORRIS,
INDEPENDENT ADMINISTRATOR
OF THE ESTATE OF AYDEN
CARTER TOPLIN,

             Plaintiff,

      v.                                  Case No:

THE UNIVERSITY OF CHICAGO
MEDICAL CENTER, JENNIFER
ROSENBAUM, M.D., CARYN REID,
APN, UNITED STATES OF
AMERICA, GAETANO PEREGO,
M.D., and NAKEISHA
WEATHERSBY, APN

             Defendants.

                    AFFIDAVIT OF PLAINTIFF'S ATTORNEY

I, Michael T. Gill, declare under penalty of perjury as follows:

      I am one of the attorneys of record for plaintiffs.

      I have consulted with and reviewed the facts of this case with a
      physician, whom I believe is knowledgeable in the relevant issues
      involved in this particular action. He practices in the same area of
      medicine that is at issue in this action, and he actively treats patients
      with the medical condition that afflicted Jennifer Morris. That physician
      has determined, in a written report, attached hereto, after reviewing the
      relevant material involved in this particular action, that there is a
      reasonable and meritorious cause for filing of this action.

      No legal action has been previously filed concerning the incident
      described in this lawsuit.

      I consider the identity of the physician who signed the attached report to
      be confidential and my work-product. I have not yet determined to
      identify this physician as an opinion witness in the trial of this case, and
      therefore, the person remains my consultant whose identity is protected


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     by the work-product rule. The attorney work-product privilege, created
     by the judiciary, cannot be modified, amended, or abrogated by
     legislation. To the extent that a recent amendment to Code of Civil
     Procedure section 2-622 implies that the attorneys for plaintiff should
     identify their attesting physician, that section violates the work-product
     rule, the separation of powers doctrine and the equal protection
     guarantees of the Illinois and United States Constitutions. My client and
     I would be at a distinct litigation disadvantage were I required to disclose
     the identity of my consulting physician at this time.

FURTHER AFFIANT SAYETH NOT.

                                              /s/ Michael T. Gill

Subscribed and Sworn to Before Me
This 4th day of May, 2016.




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April 19, 2016

Michael Gill
Pfaff, Gill & Ports, Ltd.
One East Wacker Drive
Suite 3310
Chicago, IL 60601

      Re:    Estate of Ayden Carter Toplin

Dear Mr. Gill:

I write to confirm our conversations concerning this case. I am a medical
doctor licensed to practice in all the areas relevant to this case. I am familiar
with the standard of care for the care and treatment provided to Ayden Carter
Toplin by, through, and with his mother, Jennifer Morris.

I have reviewed the following materials: Ex. 10 - Friend Family Health Center
Records (prenatal care); Ex. l lB - University of Chicago Medical Center
Records (8/21/2014; 8/24 /2014-8/27 /2014 admission); Ex. 12 - Mercy
Medical Center Films.

Ayden Carter Toplin was born at University of Chicago Medical Center on
August 24, 2014 at 22 weeks gestation and died approximately 1 hour later.
His mother, Jennifer Morris, underwent an ultrasound three days prior
(8/21/2014) which showed "findings consistent with cervical incompetence
with a small amount of fluid filling the cervical canal." Ex. 10, pp. 7-9. The
interpreting radiologist spoke with the treating OB/GYN, Dr. Gaetano Perego,
and informed her of the findings. Ms. Morris was directed to University of
Chicago Medical Center, and was seen that day in Labor & Delivery by Caryn
Reid, APN. Ex. 1 lB, pp. 19-25. Nurse Reid diagnosed a bacterial infection and
sent Ms. Morris home on antibiotics. Per the medical record, Nurse Reid
discussed the case with resident Jennifer Rosenbaum, M.D., who should have
supervised Ms. Morris's care and treatment that day.

Ms. Morris was seen August 22, 2014 by Nakeisha Weathersby, APN at Friend
Family Health Center, the facility where she received her prenatal care. Nurse
Weathersby was made aware of the visit to University of Chicago the day
before. She instructed Ms. Morris to continue with her course of Flagyl. Ex.
10, pp. 40-44. Ms. Morris's care should have been supervised by Dr. Perego or
another physician at Friend Family Health Center that day.       No healthcare
provider addressed her cervical insufficiency, and she went into labor on



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August 23, 2014. Ayden Carter Toplin was born the next day and died
approximately 1 hour later.

On August 21 and 22, Ms. Morris's ultrasound findings and presentation
required informed consent and placement of emergent or rescue cerclage. On
August 21, Dr. Rosenbaum and other healthcare providers at University of
Chicago Medical Center failed to take such action. ·On August 22, Dr. Perego
and other healthcare providers at Friend Family Health Center failed to take
such action. Had they done so, Jennifer Morris's pregnancy would have more
likely than not progressed to a gestational age where Ayden Carter Toplin
would have survived.

Based on the information that I have thus far reviewed, it is my opinion to a
reasonable degree of medical certainty (i.e. more likely than not) that the errors
and omissions of Dr. Rosenbaum and University of Chicago, and Dr. Perego
and Family Friend Health Center were negligent and a proximate cause of
Ayden Toplin Carter's death on August 24, 2014. Accordingly, I conclude that
this is a meritorious case against those individuals and institutions.

Pending the review of additional information, I reserve the right to modify or
amplify the opinions expressed herein.

Sincerely,




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